                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA                              )
                                                       )         Case No. 1:12-cr-94-HSM-SKL
 v.                                                    )
                                                       )
 PATRICK HARPER                                        )
                                                       )

                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 20,

 2015. At the hearing, defendant moved to withdraw his not guilty plea to Count One of the eleven-

 count Indictment and entered a plea of guilty to Count One of the Indictment. There is no plea

 agreement in this case. On the basis of the record made at the hearing, I find the defendant is fully

 capable and competent to enter an informed plea; the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; the plea is made voluntarily and free from

 any force, threats, or promises, the defendant understands the nature of the charge and penalties

 provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One be granted, her plea of guilty to Count One of the Indictment be accepted, and the Court

 adjudicate defendant guilty of the charges set forth in Count One of the Indictment. Defendant made

 an oral motion to remain on bond after entry of his plea pending sentencing pursuant to 18 U.S.C.

 §§ 3143(a) & 3145(c). The Government did not oppose the motion. I find exceptional circumstances

 are present in this matter. Therefore Defendant’s motion to remain on bond pending sentencing is

 GRANTED and a separate Order has been entered on the record.                    Therefore, I further

 RECOMMEND Defendant remain on bond until sentencing in this matter. Acceptance of the plea,




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 adjudication of guilt, and imposition of sentence are specifically reserved for the district judge.

                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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